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 (9/16) Complaint for a Civil Case


                                                              Middle District of Georgia
                                                                                                                                   Appendix A
                                                                          )     Case No.
                                                                          )                   (to be filled in by the Clerk's Office)
                                                                          )
                                                                          )
 (Write the full name of each plaintiffwho is filing this complaint.
 If the names ofall the plaintiffs cannot fit in the space above,•        )    Jurv Trial: (check one)     n Yes n            No
 please write "see attached" in the space and attach an additional
 page with the full list of names.)
                                                                          )
                                     -V-                                  )
                                                                          )
                                                                          )
                                                                          )
                                                                          )
                               Defend/mt(s)             -._
                                                                          )
 (Write the full name of each defendant who is being sued. If the         )
 names of all the defendants cannot fit in the space above, please        )
 write "see attached" in the space and attach an additional page
 with the full list of names.)
                                                                          )

Co ven tfn      r       t,attSfO,JcJro1
 t (j_l!Ajtr        'r" {#;5e.,,                  COMPLAINT FOR A CIVIl, CASE


 I.        The Parties to This Complaint
           A.         The Plaintiff(s)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                                 Name
                                 Street Address
                                 Citv and Countv
                                 State and Zin Code
                                 Telenhone Number
                                 E-mail Address


           B.         The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (if known). Attach.additional pages if needed.



                     Defendant No. 1
                                 Name
                                 Job or Title (if known)
                                 Street Address
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                                    Citv and Countv
                                    State and Zin Code
                                    Telenhone Number
                                    E-mail Address      (if known)



                      Defendant No. 2
                                Name
                                    Job or Title (if known)
                                    Street Address
                                    Citv and Countv
                                    State and Zin Code
                                    Telenhone Number
                                    E-mail Address      (if known)



                     Defendant No. 3
                                Name
                                    Job or Title   (if known)

                                    Street Address
                                    Citv and Countv
                                    State and Zin Code
                                Telenhone Number
                                E-mail Address         (if known)



                     Defendant No. 4
                                Name
                                Job or Title (if known)
                                Street Address
                                Citv and Countv
                                State and Zin Code
                                Telenhone Number
                                E-mail Address         (if known)



II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity ofcitizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                  D     Federal question                             . ~ersity of citizenship

                                                                         20
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II.       Basis for Jurisdiction

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          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

           What is the basis for federal court jurisdiction? (check a that apply)
                   D Federal question                                           iversity of citizenship


           Fill out the paragraphs in this section that apply to this case.

           A.         If the Basis for Jurisdiction Is a Federal Question

                      List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                      are at issue in this case.
                                                                                                  NA
           B.         If the Basis for Jurisdiction Is Diversity of Citizenship·

                      1.            The Plaintiff(s)

                                    a.      If the plaintiff is an individual                           J/         ·J
                                            The olaintiff. (name)     -~a-,,c..:1,•e.'1]~0'-"-l+I_.L~--"--"'t.t'.""---"/---'--=1w-1--b.J-+l_r.L._=--·
                                                                                      .                                                              - - . is a citizen of the
                                            State of (name)         (i et' fj { q____         /                      f
                                    b.      If the olaintiff is a corooration
                                            The olaintiff. (name)
                                                                         ----------'---'---'----- is incoroorated     /V-A-                      .
                                            under the laws of the State of fnameJ
                                            and ha<; its nrincinal nlace of business in the State of fnameJ



                                    (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                    same information for each additional plaintiff.)

                      2.            The Defendant(s)

                                    a.      If the defendant is an individual
                                            The defendant. (name)                                                                                _is a citizen of
                                                                           ----------------
                                            the State of (name!                                                                               0 r is a citizen of ·
                                             (foreign nation)


                                    b.      If the defendant is a corooration
                                                                             21
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                                             The defendant. (name) _ ......~.e-·
                                                                              -'----"-'a"----r_ _1_·-  __-1-f_O_~
                                                                                                     ~rol>'lS          __+_-"_Ul_t\__ . is incornorated under
                                             the laws of the State of /name)                   --'1'-le,,,...g...flu..clL=e.=,,'.z,µ5-C-=e.......=------- -and has its
                                             orincinal nlace of business in the State of lnamei                      :I-e.n')e s.s-ce _
                                             Or is incornorated under the laws of (foreirn nation)
                                             and has its orincioal olace ofbusiness in (name)

                                    (If more than one defendant is named in the complaint, attach an additional page providing the
                                    same information for each additional defendant.)

                      3.            The Amount in Controversy

                                     The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                    stake-is more than $75,000, not counting interest and costs of court, because (explain):
                                      6                                                                         d                                              ~         \

                                    --"1----""~_::___,'--'--'----''--'""-'iCLI~,--..LL.-""-',~-_..:c_:::..,,c_:_=-z_.=___4-_-"'=-=:._:_~_--¥~,;tP"'---"'-=-'"""--'M.




III.

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
                                                                                        5-e e.                 a tiadz ei


IV.       Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the an1ounts, and the reasons you claim you are entitled to actual or
          punitive money damages.




                                                                                 22
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                                            The defendant. (name)         d,,te,,i_q 'l,,f   f,-tf.'1'!),PtJT"t'et.-J.l~A.l incornorated under
                                            the laws of the State of rnamel          ftll,lle_5See                             . and has its
                                            nrincinal nlace of business in the State of fnamel  1'"et1a,e.S5 c:e-
                                            Or is incornorated under the laws of rroreim nation)
                                            and has its nrincinal olace of business in {name)

                                    (If more than one defendant is named in the complaint, attach an additional page providing the
                                    same information for each additional defendant.)

                      3.            The Amount in Controversy

                                     The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                    stake-is more than $75,000, not counting interest and costs of court, because (e.-rplain):




III.          Statement of Claim

              Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
              facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
              involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          1
              the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
              write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.




IV.       Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the an1ounts, and the reasons you claim you are entitled to actual or
          punitive money damages.




                                                                        22
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                                            The defendant    (aam,l      a"1141.{,._,
                                            the laws of the State of (name>
                                                                                                &.A,/   &..sej,fii,cruroorated unde,c
                                                                                    _t;n/}, e 5:3 e e......._       • and has its
                                            ori~ci~al olace of business in the State of (11a111eJ ~r'4 ..ze-s::s:c ~
                                            Or 1s mcomorated under the laws of (f01·efrm nation)
                                            and has its orincioal olace of business in (name)

                                    (If more than one defendant is named in the complaint, attach an additional page providing the
                                    same information for each additional defendant.)

                      3.            The Amount in Controversy

                                     The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                    stake-is more than $75,000, not counting interest and costs of court, because (explain):




ID.        Statement of Claim

           Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
           facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
           involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
           the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
           write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.




IV.        Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the \Vrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.




                                                                        22
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V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivokms argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.        . For Parties Without an Attorney

                     l agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date of siimin!!:


                     Siimature of Plaintiff                                           ~
                     Printed Name of Plaintiff

          B.         For Attorneys

                     Date of si!!nin!!:


                     Siimature of Attornev
                     Printed Name of Attornev
                     Bar Number
                     Name of Law Firm
                     Street Address
                    ·State and Zin Code
                     Telenhone Number
                     E-mail Address




                                                                                                             APPENDIXB
                                                                23
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:rrr-
Statement of Claim

While I was an employee of Star Transportation, which was bought by Covenant Transportation, I was
injured on the job in an accident, on March 16, 2020. I filed a claim of workman compensation and was
approved. I was then cut off of workman compensation in June 2020, handled by Gallagher & Basset. I
was unable to work due to the injury sustained on the job and left without insurance to pay for my
medications and other healthcare needs. This caused my blood pressure to remain elevated for long
periods of time, which led to diabetes, loss of sight and end stage renal failure.
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Relief

I was injured while I was an employee of Star Transportation on March 16,2020. Due to being denied
proper healthcare benefits from Workers Compensation in June 2020, I loss both kidneys, my sight and
quality of life. I am seeking $10 Million dollars for actual damages, punitive damages and pain and
suffering.

I currently have to have others to help with anything that involves my sight. I can no longer see for
myself something as simple as the meal I am about to eat. I require assistance to take a bath. I take
dialysis three times a week for 3 hours and 45 minutes each treatment to replace the loss of function of ·
my kidneys. Dialysis is required for the rest of my life. I have problems walking and maintaining my
balance. Due to these chronic health problems, my quality of life has changed dramatically.

When I was able to work, I earned in excess of $1000 a week. The life expectancy of a male in America is
78 years old. I would have had 27 years to make in excess of $1300 a week, $1,825,200 for 27 years. I
currently require a healthcare worker five days a week, $421,200 for 27 years. I am seeking $7,753,379
in punitive damages and for pain and suffering.
